              Case 1:19-cv-11887-TLL-PTM ECF No. 1-1, PageID.22 Filed 06/25/19 Page 1 of 1

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                                                                                                                    **    JANET ff, DAVIS
                                                                                                                         REGISTER OF DEEDS
                                                                           WARRANTY OEl:D
      The Grantor(s) INDUSTRY MORTGAGE COMPANY, a Florida corporation, whose address is 4501 Erskine Road,
      Cincinnati, Ohio 45242, convey(s) and warrant(s) to TOM FOX and SHARON FOX, husband and wife, as tenants by the
      entireties, whose address is 3889 W. Tyler Road, Alma, Ml 48801, the following described premises situated In the City of
      Alma, County of Gratiot and State of Michigan:

      The North ½ of lot 38, Hall and Sharrar's Addition to lhe City of Alma, Gratiot County, Michigan, according to the recorded
      plat thereof. Subject to reservations, building and use restrtclions, rights of way and easements of record.

      for the sum of Thil{five Thousand and 00/100 ($35,000.00) Dollars.

      Dated this        6/ ll day of [D_) [LUO-Mer                              , 2000.
      Signed in the presence of:


                                                                                 By:




                                                                                                                                  , Notary Public




      When Recorded Return To and Send Subsequent Tax Bills To:

     Tom Fox, 3889 W. Tyler Road, Alma, Ml 48801

     Drafted By: Stewart D. McDonald (P30191), Law Offices McDonald and Haffey, 201 E. Superior, P. 0. Box 515, Alma,
     Michigan 48801; SOM/lw; 1/27/00.




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